                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                           CRIMINAL DOCKET NO.: 5:08CR21-V


UNITED STATES OF AMERICA,           )
                                    )
            vs.                     )                             ORDER
                                    )
ABDULLAH FAKIH,                     )
                  Defendant.        )
____________________________________)

        THIS MATTER is before the Court on the Defendant’s “Motion To Sever Or Exclude Co-

Defendants’ Statements,” filed August 18, 2008. (Document #37) On September 2, 2008, the

Government filed a written response conceding that severance will, in fact, be required in the event

Fakih’s co-defendants do not tender guilty pleas prior to commencement of trial.1 (Document #41)

        Rule 14(a) of the Federal Rules of Criminal Procedure provides that:

        “If the joinder of offenses or defendants in an indictment, an information, or a
        consolidation for trial appears to prejudice a defendant or the government, the court
        may order separate trials of counts, sever the defendants’ trials, or provide whatever
        other relief justice requires.”

FED . R. CRIM . P. 14.

        According to the Government, “[s]tatements made by Fakih’s co-defendants about Fakih’s

role in the bank robbery directly implicate him as a major participant ...” and “no amount of

redaction of [Fakih’s co-defendants’] statements will cure any potential Bruton issues.”2 (Response,

¶6) For the reasons advanced by both parties, this Court will grant the Defendant’s Motion to Sever.


        1
           This matter is currently scheduled to be heard during the November 2008 trial term in the
Statesville Division, which begins November 3, 2008.
        2
            See Bruton v. United States, 391 U.S. 123 (1968).

                                                      1


     Case 5:08-cr-00021-KDB-DCK                Document 42       Filed 10/01/08       Page 1 of 2
       IT IS, THEREFORE, ORDERED that Defendant Abdullah Fakih’s Motion to Sever is

hereby GRANTED. For purposes of trial, Defendant Fakih’s case will be severed and, therefore,

tried separately and independently of any trial that might occur with respect to his Co-Defendants,

Anthony Fleetwood, Demond Dixon, and William Dixon.



                                                Signed: October 1, 2008




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    Case 5:08-cr-00021-KDB-DCK             Document 42       Filed 10/01/08      Page 2 of 2
